                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF WISCONSIN

In re the Bankruptcy of:

NETWURX, INC.                                                 Case No. 08-26131

                                       Debtor.                Small Business Case under Chapter 11


             DEBTOR’S THIRD MODIFICATION OF THE THIRD
       AMENDED CHAPTER 11 PLAN OF REORGANIZATION PURSUANT TO
              11 U.S.C. § 1127(a) AND BANKRUPTCY RULE 3019


     The Debtor in the above-entitled Chapter 11 case proposes a third modification of the Third
Amended Plan of Reorganization as follows and as set forth on this page IV 1-5:

       IV. TREATMENT OF CLASSES

         1.     Debtor has recently obtained a commitment for financing in the amount of
$715,000.00, which will allow for an immediate and full payment of all creditors in all classes as set
forth in IV below, except for the First Financial Bank Centre (SBA) loan, which Debtor will continue
to make monthly payments of $4,690.76 until final payment in September 2010 and the insider
claims of Jane Maher, Pamela Maher, and Peter Maher; said agreement for financing subject to
bankruptcy court approval. A copy of the pertinent provisions of the financing agreement is attached
hereto and incorporated herein by reference. The Debtor anticipates that payments under this
modified plan shall be made no later than 14 days after the confirmation of this amended plan.

       2.     Debtor respectfully submits that the plan as modified meets the requirements of 11
U.S.C. §§ 1122 and 1123.

       3.      Debtor respectfully submits that the modifications do not adversely change the
treatment of the claim of any creditor or the interest of any equity security holder who has not
accepted in writing the modification, and therefore, pursuant to Bankruptcy Rule 3019, notice should
only be given to the U.S. Trustee, any committee appointed under the Code, and any other entity
designated by the Court.

        4.      Debtor respectfully submits that a modified disclosure statement pursuant to 1127(c)
is unnecessary since the recently filed modified plan does not adversely affect the treatment of any
creditor. See In re Cellular Info. Sys., Inc. 171 B.R. 926 (Bkrtcy. D.S.C. 1994).

       5.      The provisions of the Third Amended Chapter 11 Plan not affected by this
modification are hereby reaffirmed and reratified.




              Case 08-26131-svk        Doc 278      Filed 09/16/09       Page 1 of 10
                                           I. DEFINITIONS

        For the purposes of the Third Amended Plan, the following definitions shall apply:

        1.      "Code" shall mean Title 11 of the United States Code as amended.
        2.      "Court" shall mean the United States Bankruptcy Court for the Eastern District of
Wisconsin in which this case is pending.
        3.      "Creditors" shall mean all creditors of the Debtor holding claims for debts, liabilities,
demands, or claims of any character whatsoever.
        4.      "Creditors' Committee" shall mean the creditors' committee appointed by the order
of this Court, the members thereof, and any successor members.
        5.      "Confirmation of the Plan" shall mean the entry by the Court of an order confirming
the Plan in accordance with Chapter 11.
        6.      "Consummation of Plan" shall mean the accomplishment of all things contained or
provided for in this Plan, and the entry of an order finally dismissing this case.
        7.      "Debtor" shall mean NETWURX, INC., the Debtor in possession listed in the caption
of the Plan.
        8.      "Effective Date" shall mean the date on which the order confirming this Plan of
Reorganization becomes final and non-appealable.
        9.      "Unsecured Claims" shall mean all claims held by creditors of the Debtor, other than
Secured Claims and shall include claims of secured creditors to the extent that the same are
unsecured in part.
        10.     "Priority Claim" shall mean the claim of any creditor entitled to priority under Section
507 of the Code.
        11.     "Plan" shall mean this Plan or Reorganization in its present form or as it may be
amended or supplemented.
        12.     "Secured Claims" shall mean all claims secured, if any, by liens on the property of
the Debtor, which liens are valid, perfected, and enforceable under applicable law, are not subject
to avoidance under the Bankruptcy Code or other applicable non-bankruptcy law, and are duly
established in this case.

                                    II. GENERAL PROVISIONS

        The following general provisions apply to this Plan:

        1.     Claims: Various types of claims are defined in this Plan, The Plan is intended to deal
with all claims against Debtor of whatever character, whether or not contingent or liquidated and
whether or not allowed by the Code pursuant to Section 502(a). However, only those claims allowed
pursuant to Section 502(a) of the Bankruptcy Code will receive treatment afforded by the Plan in
Article IV.

       2.     Preserved Liens: To the extent required under Section 1124(2) of the Bankruptcy
Code to preserve the rights of a secured creditor, the liens or encumbrances of Eyecom shall, to the


                                                  -2-



              Case 08-26131-svk         Doc 278      Filed 09/16/09        Page 2 of 10
extent valid, be preserved or will otherwise be satisfied by cash payment to the extent of the value
of secured property or amount of secured debt, whichever is less.

        3.      Time for Filing Claims: All creditors whose claims are scheduled as disputed or
unliquidated in the Debtor's schedules must file such claims by the bar date established by the Court
in order to be treated under the Plan.

        4.     Modification of the Plan: This Plan may be modified by the Debtor pursuant to 11
U.S.C. § 1127 upon any application by the Debtor or corrected prior to Confirmation without notice
and hearing and without additional disclosure pursuant to Section 1125 of the Code provided that
notice is given to the Committee and the Committee does not object to the modification or
correction, and the Bankruptcy Court finds that such modification or correction does not materially
and adversely affect the interests of creditors, remedy any defect or omission, or reconcile any
inconsistencies in the Plan or in the order of Confirmation in such manner as may be necessary to
carry out the purpose and effect of this Plan.

                         III. DIVISION OF CLAIMS AND INTERESTS

       The claims against the interests in the Debtor are divided into the following classes:

       Class 1:   All allowed Priority Claims, other than Priority Tax Claims.
       Class 2:   All allowed Priority Tax Claims.
       Class 3:   All allowed Secured Claims and post-petition payments other than the Class 4
Creditors
       Class 4:   All allowed Pre-petition Secured Claims, if any.
       Class 5:   All allowed Pre-petition Unsecured Claims irrespective of amount.

                                 IV. TREATMENT OF CLASSES

       1.      There are no Class 1 Creditors. However, any administrative tax liability incurred
by the Debtor shall be paid in full by the effective date of the Plan

        2.      There are two Class 2 Creditors - The claim of the Wisconsin Department of Revenue
($124,482.00) and the claim of the Internal Revenue Service ($40,069.00). Reserving its rights to
challenge these claims, Netwurx proposes minimum monthly payments of $5,000.00 to the
Wisconsin Department of Revenue and $2,000.00 to the Internal Revenue Service until these claims,
including applicable statutory interest, pursuant to 11 U.S.C. § 511(a), are paid in full. Class 2
Creditors are unimpaired. Payment shall commence October of 2009. It is anticipated that all Class
2 creditors shall be paid in full in October 2011, however, if not, payments will continue through the
five-year term.

       3.      Class 3 Creditors - the allowed secured claims and allowed post-petition payments
of creditors other than as set forth in paragraph 4 below shall continue to receive their regular
payments.

                                                 -3-



              Case 08-26131-svk        Doc 278      Filed 09/16/09       Page 3 of 10
               Dan Spangler, LLC                              $45,000.00
               David Kiernan                                    4,000.00
               Eric Kiernan                                     4,000.00
               Jeff Wenzler                                     4,000.00
               Ronald Fowler                                    4,000.00
               SBA/First Bank Financial Centre                 69,229.00
               Total Comfort/Total Mechanical                   4,467.00

       Class 3 Creditors are unimpaired.

       4.      There are no Class 4 Creditors

        5.      Class 5 Creditors are the allowed Pre-petition Unsecured Creditors of the Debtor.
Netwurx proposes minimum monthly payments of at least $6,000.00 for a period of 60 months. As
set forth in Exhibit H - the five-year budget and reconciliation of payments, in October 2009, the
monthly payments shall begin at $6,000.00, in October 2010, the monthly payment shall increase
to $10,000.00; in April 2011, the monthly payment shall increase to $12,000.00; and in November
2011, the monthly payment shall increase to $24,000.00 and continue through the five year term or
until all creditors are paid in full. Allowed claims under this class shall receive a pro rata
distribution. Based on the Liquidation Analysis as set forth in Exhibit E, Class 5 unsecured creditors
shall receive payments that are not less than the amount that each allowed claim holder would
receive if the Debtor were liquidated Chapter 7. Monthly payments shall begin on October 31,
2009 or on the last day of the month preceding confirmation of the Plan (and on the last day of each
month thereafter), whichever event occurs last.

               Ameritech Publishing, Inc.                      16,808.00
               Dave Mack                                        4,300.00
               AT&T                                           310,000.00
               Bertram Communications                          26,021.00
               Business Technologies                              302.00
               CenturyTel (Marion, LA)                            542.00
               CenturyTel (Monroe, LA)                          5,335.00
               Charter                                         26,219.00
               D&D Muffler                                        212.00
               Dell Financial Services, LLC                     1,906.00
               Express News                                       475.00
               Eyecom                                         135,000.00
               Lemberg Electric                                 1,712.00
               Nebs                                               273.00
               Pamela A. Maher                                 15,000.00
               Peter and Jane Maher                            61,000.00
               Pitney Bowes                                       735.00
               Print Haus                                       1,162.00


                                                 -4-



              Case 08-26131-svk        Doc 278      Filed 09/16/09       Page 4 of 10
                Reilly Penner & Benton                           6,565.00
                Schober, Schober & Mitchell, S.C.                2,645.00
                US Cellular                                      3,897.00
                WAV                                             24,000.00
                Winter Summer Storage                            3,500.00
                Yellowbook IL                                      573.00
                Yellowbook Madison                               1,111.00

        6.      Classes of Equity Interest Holders

       Equity interest holders are parties who hold an ownership interest (i.e., equity interest) in the
Debtor. In a corporation, entities holding preferred or common stock are equity interest holders.
Netwurx is a Wisconsin corporation.

        The following sets forth the equity interest holders. Said holders shall continue upon
confirmation of Plan, however, no liquidation or distribution to said holders is provided for or
anticipated.

                Pete Maher - 95 shares common stock representing 47½ %
                Pamela Maher - 95 shares common stock representing 47½ %
                Netwurx, Inc. - 10 shares common stock representing 5%

                    V. ALLOWANCE AND DISALLOWANCE OF CLAIMS

        Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed by a
final non-appealable order, and as to which either: (i) a proof of claim has been filed or deemed filed,
and the Debtor or another party in interest has filed an objection; or (ii) no proof of claim has been
filed, and the Debtor has scheduled such claim as disputed, contingent, or unliquidated.

       Delay of Distribution on a Disputed Claim. No distribution will be made on account of a
disputed claim unless such claim is allowed by a final non-appealable order.

       Settlement of Disputed Claims. The Debtor will have the power and authority to settle and
compromise a disputed claim with court approval and compliance with Rule 9019 of the Federal
Rules of Bankruptcy Procedure.

                 VI. UNEXPIRED LEASES AND EXECUTORY CONTRACTS

        The Debtor assumes the following unexpired leases and/or executory contracts effective upon
the date of the entry of the order confirming this Plan.

        ARIN, Ltd.
        City of Hartford
        Direct Link Tower, LLC

                                                  -5-


              Case 08-26131-svk         Doc 278      Filed 09/16/09       Page 5 of 10
       Global Tower, LLC (Midwest Tower Partners, LLC)
       GTP Acquisition Partners II, LLC
       Hustisford Utilities
       IDC/Internet Dynamics Corp.
       K&S Golf
       Lake Mills
       Lebanon
       Prairie Radio Communications
       Satcom, LLC
       SBA/First Bank Financial Centre.
       Spangler Computers, Inc. (Jefnet)
       Town Investments (Towne Realty)
       Town of Erin
       Viking Communications
       Village of Cambridge
       Village of Cheneque
       Watertown Water Dept.
       White Elephant, LLP
       Global Pops
       Spiralite
       Sprint
       4 Guys, Inc.
       E5
       Cogent
       AT&T (DSL contracts)
       U.S. Signal

        The Debtor rejects the following unexpired leases and/or executory contracts effective upon
the date of the entry of the order confirming this Plan.

       Ameritech/SBC
       AT&T - Reject except for two agreements involving DSL
       Bertram Communications - (contract canceled prior to June 5, 2008), no “lease” ever
       executed.
       City of Burlington
       ECB
       Netwurx IDC
       TDS Metrocom

       The Debtor will be conclusively deemed to have rejected all unexpired leases and executory
contracts upon the date of the entry of the order confirming this Plan.

        A proof of claim arising from the rejection of an unexpired lease or executory contract under
this section must be filed no later that the deadline date after the date of the order confirming this
Plan as set by the Bankruptcy Court.

                                                 -6-


              Case 08-26131-svk        Doc 278      Filed 09/16/09       Page 6 of 10
                        VII. MEANS FOR EXECUTION OF THE PLAN

       Debtor shall continue its current business operations.

             VIII. MANAGEMENT OF DEBTOR'S BUSINESS AND PROPERTY

      The Debtor's property shall be managed during the period of the Plan by the Debtor's present
management.
                              IX. LIQUIDATION ANALYSIS

         Based on five liquidation analyses as set forth below, with all secured creditors being paid
in full, including the payment of any accrued but unpaid trustee fees, there would be insufficient
monies to assign or pay over to unsecured creditors.

       1       The EBITDA (earnings before interest, taxes, depreciation, and amortization) - with
               a monthly profit projected at $11,289.00 and then including loan interest of $733.00
               and the trustee fee of $1,625.00, the total of $13,647.00 over a three year period
               equates to a liquidation value of $491,292.00.

       2.      The GAAP cash flow (generally accepting accounting practices - cash flow) - since
               Netwurx expenses have been derived from a cash basis and non-static costs have
               been added in as an average over the last year, and no cash has been loaned during
               that year, the total for computation would be the monthly profit projected at
               $11,289.00 plus the trustee fee of $1,625.00 or a total of $12,914.00. Based on a
               three year projection, the liquidation value is $464,904.00.

       3.      In May of 2008, Netwurx received a third party offer in the range of $350,000.00 to
               $500,000.00. That offer was refused by Netwurx.

       4.      In April of 2009, Netwurx received a third party offer of $600,000.00. That offer is
               pending.

       5.      A competing plan filed by Bertram Communications, LLC on June 29, 2009
               proposed a liquidation of Netwurx, Inc. in payment of $750,000.00
       6.
                              X. RETENTION OF JURISDICTION

      After confirmation, the Court will retain jurisdiction of the Debtor for purposes of
implementing and consummating the Plan.

                             XI. MISCELLANEOUS PROVISIONS

       Definitions and Rules of Construction. The definitions and rules of construction set forth in


                                                 -7-



             Case 08-26131-svk         Doc 278     Filed 09/16/09       Page 7 of 10
§§ 101 and 102 of the Code shall apply when terms defined or construed in the Code are used in this
Plan. Also, the word “Plan” shall also refer to any amended or modified plans.

       Severability. If any provision of this Plan is determined to be unenforceable, the
determination will in no way limit or affect the enforceability and operative effect of any other
provisions of this Plan.

       Binding Effect.       The rights and obligations of any entity named or referred to in this
Plan will be binding upon, and will inure to the benefit of the successors or assigns of such entity

        Captions.     The headings contained in this Plan are for convenience of reference only and
do not affect the meaning or interpretation of this Plan.

        Controlling Effect.   Unless a rule of law or procedure is supplied by federal law (including
the Code or Federal Rules of Bankruptcy Procedure), the laws of the State of Wisconsin govern this
Plan and any agreements, documents, and instruments executed in connection with this Plan, except
as otherwise provided in this Plan.

        Corporate Governance.       Upon confirmation of the Plan, the Debtor shall amend its
charter to comply with the requirements of 11 U.S.C. § 1123(a)(6).

       Disbursing Agent.     The disbursing agent for all payments made under the Plan shall be
Peter Maher. The disbursing agent shall not be liable for any action or failure to act by the Debtor.

        Commencement of Plan.         Upon confirmation of this modified Plan, and no later than 14
days after confirmation, Debtor will commence payments as set forth above.

        Discharge.       On the confirmation date of this Plan, the Debtor will be discharged from any
debt that arose before the confirmation of this Plan, subject to the occurrence of the effective date,
to the extent specified in § 1141(d)(1)(A) of the Code, except that the Debtor will not be discharged
of any debt: (i) imposed by this Plan; (ii) of a kind specified in § 1141(d)(6)(A) if a timely complaint
was filed in accordance with Rule 4007(c) of the Federal Rules of Bankruptcy Procedure; or (iii) of
a kind specified in § 1141(d)(6)(B).

        Quarterly Fees. All quarterly fees payable under 28 U.S.C. §1930 shall be paid on or before
the effective date of the Plan, as required by 11 U.S. C. §1129(a)(12). The reorganized Debtor shall
continue to file quarterly fee statements and pay quarterly fees when due until this case is converted,
dismissed or closed. The Bankruptcy Court shall retain jurisdiction necessary to enforce the
provisions of this paragraph.

        Summary.       Debtor projects that all creditors in Classes 1 through 5, except for the claim
of First Bank Financial Centre (SBA) and the claims of insiders Jane Maher, Pamela Maher, and
Peter Maher, shall be paid in full no later than 14 days after confirmation of this modified Plan.


                                                  -8-



              Case 08-26131-svk         Doc 278      Filed 09/16/09       Page 8 of 10
Dated and respectfully submitted this   16th   day of September , 2009.

                                                    Respectively submitted,

                                                    NETWURX, INC.



                                                    /s/
                                                    Peter Maher, CEO

                                                    FISH LAW OFFICES



                                                     /s/
                                                    Guy K. Fish, Attorney for Debtor
                                                    Wis. State Bar No. 1005282




                                        -9-



     Case 08-26131-svk        Doc 278     Filed 09/16/09     Page 9 of 10
                           MEMORANDUM OF AB]BEEMEm
'Ibis Mem-            of Agemmt,                 &C sixma& ( 1 6 day of kpmk,        2009, between
Whit-*        C o m m p ~ i d ~L3X:    ? ~ , and Netwmg ha,evidance~rh6 perties Wt to &iST
h ~ r m ~ f o r s d e a 4 s t 6 c k s t b c k f ~ ~ e t a~a rnr c, . ~ ~ t b e B a n k n r p t c y ~ s ~ ~ ~ f
Nr'-              amendedwMonplan.


The material pmt3m of the intended apxmcnt                 ere as f o l l o ~ ~ :

    1.    & a d ail ~~ bctwee~~           Whitewater Commu&atio~& LLC and Netwarn
         Iac p.msllant .to tMs m,emomdm dull be a d q p t lrpon the BantavFQcy Court's
                    atmd sppKIvaf ~fNetccan, &LC's amr;ndsd c o d m a t h plan.

   2. Whitewater C o m r n ~ n i LM:
                                 a~        pay to Nehmnq Inc and Netwunr, Inc.
      sbal]      &an WMewater C o z m M q LLC a me-tb~          pa-     of seven-
      hnadnsd and    * ?houaamd dollars (715,000.00) upon both patties dghg &
         am=-




                                              Pete Maher, CEO




              Case 08-26131-svk       Doc 278     Filed 09/16/09         Page 10 of 10
